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                    United States Court of Appeals
                               FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 25-5217                                                   September Term, 2024
                                                                          1:25-cv-00766-JEB
                                                          Filed On: July 11, 2025
J.G.G., et al.,

                  Appellees

       v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                  Appellants


       BEFORE:          Katsas, Rao, and Walker, Circuit Judges


                                           ORDER

       Upon consideration of the motion to supplement the record, it is

      ORDERED, on the court’s own motion, that appellants file a response to the
motion by Friday, July 18, 2025. Any reply is due by Wednesday, July 23, 2025.

                                          Per Curiam


                                                            FOR THE COURT:
                                                            Clifton B. Cislak, Clerk

                                                    BY:     /s/
                                                            Selena R. Gancasz
                                                            Deputy Clerk
